Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 1 of 47




             Exhibit A
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 2 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 3 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 4 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 5 of 47




             Exhibit B
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 6 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 7 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 8 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 9 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 10 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 11 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 12 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 13 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 14 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 15 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 16 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 17 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 18 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 19 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 20 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 21 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 22 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 23 of 47




             Exhibit C
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 24 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 25 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 26 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 27 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 28 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 29 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 30 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 31 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 32 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 33 of 47




             Exhibit D
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 34 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 35 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 36 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 37 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 38 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 39 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 40 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 41 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 42 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 43 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 44 of 47
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 45 of 47




              Exhibit E
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35    Desc
                           Exhibit Page 46 of 47




                                                            +VMZ BN
Case 17-32225-ABA   Doc 81-3 Filed 06/11/20 Entered 06/11/20 11:01:35   Desc
                           Exhibit Page 47 of 47
